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AO93 Search and Seizure Warrant
UNITED STATES DISTRICT COURT
for the
District of Arizona
In the Matter of the Search of: CaseNo, 2279368 MB

Starla Shaffer and Vanessa Gonzalez’ residence, a tan colored
structure with attached garage, located at 2150 East Jackson
Circle, Mohave Valley, Arizona 86440, which is a single
family dwelling located on the Fort Mojave Indian
Reservation, with GPS coordinates 34.85203, -114.58411

ELECTRONICALLY ISSUED SEARCH AND SEIZURE WARRANT

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search of the
following person or property located in the District of Arizona:

As further described in Attachment A.

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
property described above, and that such search will reveal:

As set forth in Attachment B.

. 10/6/2022
YOU ARE COMMANDED to execute this warrant on or before (not to exceed 14 days)

in the daytime 6:00 a.m. to 10:00 p.m. CO at any time in the day or night as I find reasonable cause has been established.

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken
to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where
the property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to any United States Magistrate Judge on

criminal duty in the District of Arizona.

C11 find that immediate notification may have an adverse result listed in 18 U.S.C. § 2705 (except for delay of trial),
and authorize the officer executing this warrant to delay notice to the person who, or whose property, will be searched or
seized 0) for _30 days (not to exceed 30) O until, the facts justifying, the later specific date of

9/22/2022@9:36am F \ | Wt
Date and time issued:

Judge's signature

City and state: Phoenix, Arizona Honorable Eileen S. Willett, U.S. Magistrate Judge
Printed name and title

 
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ATTACHMENT A

DESCRIPTION OF PROPERTY TO BE SEARCHED
Starla Shaffer and Vanessa Gonzalez’ residence, a tan colored structure with
attached garage, located at 2150 East Jackson Circle, Mohave Valley, Arizona
86440, which is a single family dwelling located on the Fort Mojave Indian
Reservation, with GPS coordinates 34.85203, -114.58411. The property to be

searched includes anything within the curtilage, to include porch, sheds, vehicles,

and persons on the premises likely to possess any of the items to be searched for as
included in Attachment B.

 

 

 

 

 
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ATTACHMENT B — THINGS TO BE SEARCHED FOR AND SEIZED

1. Any DNA evidence and/or evidence of child abuse, including, but not limited
to, dried blood or bodily fluids and/or substances that appear to be blood or bodily fluids,
which may be on the floors, walls, clothing, bedding, furniture, or items used to clean up
same (such as cloth towels, washcloths, or paper towels).

2. Any items of evidence that may be readily used as a disciplinary objects,
including belts, shoes, and hangers and/or that otherwise appear to be items consistent with
pattern injuries and bruising on the body of Jane Doe 1.

3. Any unlawfully possessed controlled substances, including marijuana,
Tetrahhydrocannabinol (THC), methamphetamine, or substances appearing to be
methamphetamine (e.g., white crystalline substances).

4, Any drug paraphernalia for storing, smoking, ingesting, and/or using
unlawfully possessed controlled substances (e.g., marijuana), including baggies, pipes, and
other smoking devices.

5. Any products/items containing Cannabidiol (CBD), CBD Oil, CBD infused
drinks, CBD infused food, and items of the like.

6. Any Closed-Circuit Television (CCTV) recording devices to include baby
monitors, surveillance cameras, recording devices, digital voice recorders, digital
recording devices, cellular telephones.

7. Any cellular telephones phones belonging to S.S. and/or V.G. (If recovered,
separate search warrants will be sought to search such devices.)

8. Any and all medical records pertaining to Jane Doe 1.

9, Indicia of ownership, occupancy, and/or use of the residence, including such
things as mail, (e.g., bills) that may be addressed to the occupant(s); driver’s licenses and/or
identification cards; and photographs of the owners and/or occupants of the structure.

10. Photographs and measurements of the residence and things located therein

and/or seized.

 

 
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Return

 

Case No.: Date and time warrant executed: Copy of warrant and inventory left with:

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Inventory made in the presence of : Fee T Mosme TRIAGE Poricd PEOARTMENT CFfice SERCEMT CLALG ANOS

va

 

Inventory of the property taken and name of any person(s) seized:

SEE ATveneo OSI? Recever FoR PReERTY

 

Certification

 

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant
to the designated judge.

pate: 09/23/2002. Def L_.

Exechting Officer's Signature
Dewed eee \QA SPU re Asewt

Printed Name and Title

 

 

 

 
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UNITED STATES DEPARTMENT OF JUSTICE
FEDERAL BUREAU OF INVESTIGATION
Receipt for Property

 

FD-597 (Rev. 4-13-2015)

Case ID: 19% U- PX~- 365 $4 3 t
On (date) G/22/22 Afe SO x" (s) listed below were:

Collected/Seized
Received From
Returned To

_] Released To

 

(Name)

(Street Address) Al5O E Jacksort Circle
ciyy Mohave Vall £4, Az.

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